                       Case 3:19-cr-00263-KAD Document 31 Filed 11/06/19 Page 1 of 10

AO 93 (Rev. 11/13) Search and Seizure Warrant



                                           UNITED STATES DISTRICT COURT
                                                                             for the
                                                                  District of Connecticut

                  In the Matter of the Search of                                )
              (Briefly describe the property to be searched                     )
               or identify the person by name and address)                      )      Case No.
           Information associated with the email account                        )
          konk10101@hotmail.com, which is stored at the                         )
           premises controlled by Microsoft Corporation                         )

                                                  SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the   _ _ _        ___           District of             Connecticut
(identify the person or describe the property to be searched and give its location):

      Information associated with the email account konk10101@hotmail.com, which is stored at the premises controlled by
      Microsoft Corporation as described in Attachment A, which is expressly incorporated herein.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the pl'1;1p~ be seized):


      Evidence, fruits and instrumentalities of a crime as described it,, li t~Affitiewit flr,d in Attachment B, which is expressly
      incorporated herein.




         YOU ARE COMMANDED to execute this warrant on or before                November 20, 2019        (not to exceed 14 days)
       0 in the daytime 6:00 a.m. to 10:00 p.m. ¢ at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                    Hon. Sarah A._b,. Merriam
                                                                                                      (United States Magistrate Judge)

       0 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     0 for _ _ days (not to exceed 30)             •
                                               until, the facts justifying, the later specific date of


Date and time issued:
                                                                                                              Judge's~
                                                                                                                         _USMJ
                                                                                                  /s/ Sarah A. L. Merriam, _.....        ____   --

City and state:             New Haven, Connecticut                                                     Hon. Sarah A. L. Merriam
                                                                                                            Printed name and title
                       Case 3:19-cr-00263-KAD Document 31 Filed 11/06/19 Page 2 of 10

AO 93 (Rev 11/13) Search and Seizure Warrant (Page 2)

                                                                  Return
Case No.: _ _ Jc.~ \}LA i:>~            Date and time warrant executed:        Copy of warrant and inventory left with:
          1
   3:19-~ .14Q6.,fSAl::M)
Inventory made in the presence of :

Inventory of the property taken and name of any person(s) seized:




                                                               Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                      Executing officer's signature



                                                                                         Printed name and title
        Case 3:19-cr-00263-KAD Document 31 Filed 11/06/19 Page 3 of 10



                                       ATTACHMENT A

       This warrant applies to information associated with konk10l0l@hotmail.com that is

stored at premises owned, maintained, controlled, or operated by Microsoft Corporation, a

company headquartered at 1 Microsoft Way, Redmond, Washington 98052.


                                                                                    I




                                              25
          Case 3:19-cr-00263-KAD Document 31 Filed 11/06/19 Page 4 of 10



                                        ATTACHMENT B
                                   Particular Things to be Seized

    I.        Information to be disclosed by Microsoft Corporation (the "Provider")

         To the extent that the information described in Attachment A is within the possession,

custody, or control of the Provider, regardless of whether such information is stored, held or

maintained inside or outside of the United States, and including any emails, records, files, logs,

or information that has been deleted, but is still available to the Provider, or has been preserved

pursuant to a request made under 18 U.S.C. § 2703(f), the Provider is required to disclose the

following information to the g v -r~          o.r each account, or identifier, for the limited

timeframe of~       ,~ ~1 fo?t/otl~      r~   rnl, as listed in Attachment A:

         1.      The contents of all emails associated with the account, including stored or

                 preserved copies of emails sent to and from the account, draft emails, the source

                 and destination addresses associated with each email, the date and time at which

                 each email was sent, and the size and length of each email;

         2.      All records or other information regarding the identification of the account, to

                 include full name, physical address, telephone numbers and other identifiers,

                 records of session times and durations, the date on which the account was created,

                 the length of service, the IP address used to register the account, log-in IP

                 addresses associated with session times and dates, account status, alternative

                 email addresses provided during registration, any other registration information

                 for the account, methods of connecting, log files, and means and source of

                payment (including any credit or bank account number);
  Case 3:19-cr-00263-KAD Document 31 Filed 11/06/19 Page 5 of 10



3.      The types of service utilized, including Outlook, Hotmail, Bing, OneDrive

        (formerly called SkyDrive), and other cloud offerings, such as Office 365 and

        Azure;

4.      Any cookies-related information concerning the account;

5.      All records or other information stored at any time by an individual using the

        account, including address books, contact and buddy lists, calendar data, pictures,

        and files;

6.     Bing search history;

7.     Internet browser activity jncludi.ng activity on Internet Explorer);

8.     Location history fr n      i~j~ I.~       U1r   i.:1~   present;

9.     Microsoft change history and change information for the account;

10.    Any purchase history and transactional records, including payment method(s) and

       related billing information;

11 .   Cellular device information, including IMEI/MEID, make and model, serial

       number, date and IP address of last access to Microsoft, and a list of all accounts

       that have ever been active on the device;

12.    All records pertaining to communications between the Provider and any person

       regarding the account, including contacts with support services and records of

       -actions taken~ and- -- - -- -- - -----

13.    For all information required to be disclosed pursuant to this warrant, the physical

       location or locations where the information is stored.
         Case 3:19-cr-00263-KAD Document 31 Filed 11/06/19 Page 6 of 10



       Pursuant to the warrant, Microsoft shall disclose responsive data by sending it to the

Federal Bureau oflnvestigation, or making the data available to the Federal Bureau of

Investigation via Microsoft's electronic portal within 14 days of the issuance of this warrant.




                                                                                            /-
                                                                                            0




                                                 3
             Case 3:19-cr-00263-KAD Document 31 Filed 11/06/19 Page 7 of 10



      II.      Information to be seized by the government

            All infonnation described above in Section I that constitutes fruits, contraband, evidence,

and instrumentalities of offenses involving an attempt to provide material support and resources

t~   a foreign-teLT r.l t organization, in viobti. n of l~    S . ...,_   ~   2339B, invol .i.ng the U~Cr fth

ace . unt and OL:curring fr m      J~~fth1() U1(l'; pres nt for                  a.ch accot111l or idcntiCi r list · d

on Attachment A, information referring, relating, or pertaining to the following:

                       a. Any photographs, videos, or other information referring or relating to

                            firearms, or any weapons;

                       b. Any communications, or other information, referring or relating to

                            firearms, or any weapons;

                       c. Any information regarding any designated foreign-terrorist organization,

                            including any information regarding the attempted provision of material

                            support or resources to a foreign-terrorist organization;

                       d. Any information (including private messaging) referring or relating to

                            ISIS, or other terms associated with foreign-terrorist organizations;

                       e. The identities of individuals engaged, or otherwise involved, in attempting

                            to provide material support or resources to a foreign-te1Torist organization,

                       f.   The identifying and contact information of individuals engaged, or

                            otherwise -involved,-in-attempting to-provide material-support or resources

                            to a foreign-terrorist organization;

                       g. The timing of communications among individuals engaged, or otherwise

                            involved, in attempting to provide material support or resources to a

                            foreign-terrorist organization;
                          Case 3:19-cr-00263-KAD Document 31 Filed 11/06/19 Page 8 of 10



                                     h. The methods and techniques used in attempting to provide material

                                          support or resources to a foreign-te1Torist organization;

                                     1.   Arrangements for travel and meetings;

                                     J.   The distribution of videos and photographs evidencing the work,

                                          accomplishments, or propaganda of a foreign-terrorist organization;

                                     k. The recruitment of supporters and financial or other support for a foreign-

                                          terrorist organization;

                                     1.   Evidence indicating how and when the email account was accessed or

                                          used, to determine the geographic and chronological context bf account

                                          access, use, and events relating to the crimes under investigation and to the

                                          email account owner;

                                     m. Information indicating the email-account owner's state of mind as it

                                          relates to the attempted provision of material support or resources to a

                                          foreign-terrorist organization;

                                     n. The identity of the person(s) who created, used, or deleted the email

                                          account, including information that would help reveal the whereabouts of

                                          such person;

                                     o. The identity of any person(s) who communicated with the email account

-------- - - - - ~ ~ -   -~------- -----a00ut--matt€rs-rnlating-to-f-0reign-t(}rrorist--organi-z-at-ions,-and-any-records -------------- •-- -----

                                          related to the whereabouts of such persons;

                                     p. Records indicating that data has been deleted by the account owner,

                                          potentially to hide evidence of a crime; and

                                     q. Account history (including Terms of Service and any complaints) and


                                                                        5
         Case 3:19-cr-00263-KAD Document 31 Filed 11/06/19 Page 9 of 10



                       billing records (including date, time, duration, and screen names used each

                       time the accounts were activated).

       This warrant authorizes a review of electronically stored information, communications,

other records and information disclosed pursuant to this warrant in order to locate evidence,

fruits, and instrumentalities described in this warrant. The review of this electronic data may be

conducted by any government personnel assisting in the investigation, who may include, in

addition to law enforcement officers and agents, attorn~ys for the government, attorney support

staff, and technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the

disclosed electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.




                                                6
          Case 3:19-cr-00263-KAD Document 31 Filed 11/06/19 Page 10 of 10




         I, _ __ _ _ _ __ _ _ _ _ _ __ . attest, under penalties of perjury under the

laws of the United States of America pursuant to 28 U.S.C. § 1746, that the information

contained in this declaration is true and correct. I am employed by Microsoft, Inc., and my

official title is
                    ----- ----- --- .                      I am a custodian of records for Microsoft,

Inc. I state that each of the records attached hereto is the original record or a true duplicate of the

original record in the custody of Microsoft, Inc. , and that I am the custodian of the attached

records consisting of _ __ __ (pages/CDs/kilobytes). I further state that:

         a.         all records attached to this certificate were made at or near the time of the

occurrence of the matter set forth, by, or from information transmitted by, a person with

knowledge of those matters;

        b.          such records were kept in the ordinary course of a regularly conducted business

activity of Microsoft, Inc.; and

        c.          such records were made by Microsoft, Inc., as a regular practice.

        I further state that this certification is intended to satisfy Rule 902(11) of the Federal

Rules of Evidence.




Date                                      Signature




                                                      1
